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                          IN THE UNITED STATES DISTRICT COURT
                           FOR THE WESTERN DISTRICT OF TEXAS
                                     WACO DIVISION


SOLAS OLED LTD.,                               §
            Plaintiff                          §
                                               §         W-19-CV-00236-ADA
-v-                                            §
                                               §
LG DISPLAY CO., LTD., LG                       §
ELECTRONICS, INC., SONY                        §
CORPORATION,                                   §
             Defendants                        §


                              CLAIM CONSTRUCTION ORDER

       The Court held the Markman hearing on May 15, 2020, during which the Court orally

provided the below claim constructions. The Court now enters those claim constructions.



Term                                            Final Constructions
“a gradation current having a current value”    “a current, which conveys information about a
                                                level”
“gradation signal”                              “signal conveying information about a level”
“generates, as the gradation signal, a nonlight Not indefinite.
emitting     display   voltage     having     a
predetermined voltage value”

“a non-light emitting display voltage having a
predetermined voltage value for allowing the
optical element to perform a non-light emitting
operation is generated as the gradation signal”
“through a data line”                           Plain and ordinary meaning1

“through the data line”                            1
                                                    [Footnote is not for the jury] The threshold
                                                   voltage is detected through and the
                                                   compensation voltage is applied through the
                                                   same data line that the gradation current is
                                                   supplied through.
“before”                                           Plain and ordinary meaning

“after”                                    Plain and ordinary meaning
“a third thin film transistor which during Plain and ordinary meaning.
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Term                                                 Final Constructions
driving its gate through a driving conductor
                                                The claimed “providing” by the current
taps a diode driving current at an output of said
first current-driving transistor and supplies a measuring- and voltage regulating circuit
current measuring-[measuring] and voltage       (“said current measuring- and voltage
regulating circuit, said current measuring- and regulating circuit providing to the data
voltage regulating circuit providing to the dataconductor a voltage signal which is dependent
conductor a voltage signal which is dependent   on a current measuring result and a voltage
on a current measuring result and a voltage     comparison”) is not required to occur during
comparison”                                     driving of the third thin film transistor’s gate.
“current measuring”                             Plain and ordinary meaning
“wherein all above mentioned elements of the    “wherein all above mentioned elements of the
driving circuit are located at a same side of said
                                                driving circuit are electrically connected to and
light emitting diode”                           physically located on the same side of the
                                                layers of said light emitting diode”
“formed on said plurality of supply lines along “formed on said plurality of supply lines over
said plurality of supply lines”                 the length or direction of said plurality of
                                                supply lines”
“connected to said plurality of supply lines
along said plurality of supply lines”           “connected to said plurality of supply lines
                                                over the length or direction of said plurality of
                                                supply lines”
“patterned”                                     Note: The Court believes that it is unnecessary
                                                to separately construe part of a claim term
                                                and/or prior to construing the entire claim
                                                term. Therefore, the Court’s preliminary
                                                construction for this term is contained within
                                                the Court’s preliminary construction for
                                                “patterned together.”
“patterned together”                            “patterned to fit together,” wherein patterned
                                                may consist of one or more fabrication steps
“signal lines”                                  Plain and ordinary meaning wherein the plain
                                                and ordinary meaning is “conductive lines
                                                supplying signals”
“feed interconnections”                         “conductive structures in a different layer or
                                                layers than the supply line that also provide
                                                connections to a source that supplies voltage
                                                and/or current”


The Court will enter its memorandum in support of these claim constructions shortly.
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SIGNED this 9th day of June, 2020.




                                     ALAN D ALBRIGHT
                                     UNITED STATES DISTRICT JUDGE
